Case 1:14-cr-00056-IMK-MJA Document 43 Filed 10/14/14 Page 1 of 7 PageID #: 106




                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,
           Plaintiff,

 v.                                                   Criminal No. 1:14-cr-56-1


 SARAH SNYDER,
          Defendant.

                       REPORT AND RECOMMENDATION/OPINION

        This matter is before the undersigned for consideration of Defendant Sarah Snyder’s “Motion

 to Suppress and Request for Franks Hearing,” filed on September 17, 2014. (Docket No. 37.) The

 Government filed its response on September 19, 2014. (Docket No. 40.) United States District

 Judge Irene M. Keeley referred this matter to the undersigned on September 18, 2014. (Docket No.

 39.) On October 8, 2014, came Defendant, in person and by counsel, Jeff Harris, and the United

 States by its Assistant United States Attorney, David Perri, for hearing on Defendant’s motion. The

 parties presented no testimony, and the Court took no evidence.

                                I.   PROCEDURAL HISTORY

        On July 8, 2014, a Grand Jury sitting in the Northern District of West Virginia returned an

 Indictment against Defendant and co-defendant James Ash, charging them with several counts of

 methamphetamine-related violations. (Docket No. 1.) Defendant was arraigned before the

 undersigned on July 28, 2014, at which time she entered a plea of “Not Guilty” to all counts. On

 August 15, 2014, Defendant filed a motion to continue trial. (Docket No. 29.) On August 27, 2014,

 Judge Keeley entered an Order granting Defendant’s motion to continue. According to that Order,

 trial is scheduled to begin on November 17, 2014. (Docket No. 35.)
Case 1:14-cr-00056-IMK-MJA Document 43 Filed 10/14/14 Page 2 of 7 PageID #: 107




                             II.   CONTENTIONS OF THE PARTIES

         Defendant contends that all evidence seized from her residence on April 6, 2013, should be

 suppressed because:

         1.      Paragraph five (5) of the affidavit in support of the search warrant contains
                 several false statements; and

         2.      If those statements are removed from the affidavit, there is insufficient
                 content remaining in the affidavit to support a finding of probable cause.

 (Docket No. 37 at 2-5.) Defendant requests a hearing pursuant to Franks v. Delaware, 438 U.S. 154

 (1978), as to these issues. (Id. at 1.)

         The Government opposes Defendant’s motion to suppress, arguing that:

         1.      Defendant cannot show that the allegedly false statements were knowingly
                 made with the intent to mislead; and

         2.      The remaining information in the affidavit was sufficient to allow the
                 magistrate to conclude that the evidence and contraband sought by the
                 warrant would be found in the place to be searched.

 (Docket No. 40 at 3-7)

                                       III.   THE AFFIDAVIT

         In the affidavit supporting the search warrant for Defendant’s residence, West Virginia State

 Police Corporal R. P. Smith stated as follows:

         On 03/26/2013, the undersigned obtained information from CI #1, who advised that
         Sarah Snyder was driving into Glenville to meet with Jimmy Ash in order to
         purchase pseudoephedrine for him. On the same day, the undersigned officer
         observed Sarah Snyder leave from the direction of Rite Aid in Glenville, WV. That
         same day, the undersigned officer received information from NPLEx that Sarah
         Snyder did in fact purchased [sic] Pseudoephedrine at the Rite Aid in Glenville, WV.

         On 04/03/2013, the undersigned officer received additional information from CI #1
         that Sarah Snyder moved to Spencer, WV, and was planning to conduct a meth cook
         inside her residence prior to moving out. CI #1 further stated that Sarah Snyder made
         contact in regards to cleaning out some meth material out of the aforementioned

                                                   2
Case 1:14-cr-00056-IMK-MJA Document 43 Filed 10/14/14 Page 3 of 7 PageID #: 108




        residence from a previous cook.

        On 04/03/2013, the undersigned officer spoke again with CI #1 who informed the
        undersigned officer that Sarah Snyder planned to conduct a meth cook at the
        aforementioned residence either Friday or Saturday.

        On 04/05/2013, the undersigned officer spoke with CI #1 who advised that Sarah
        Snyder planned to conducted [sic] a meth cook at her residence with Jimmy Ash in
        the next 24 hours.

        Additional information, NPLEx watch of Sarah Snyder show that both her and
        Jimmy Ash are frequent purchaser [sic] of pseudoephedrine. With both meeting
        there [sic] purchase limits under state law on a monthly bases [sic]. A few hours,
        prior, Sarah Snyder’s vehicle was observed being at the precised [sic] location, with
        additional research showing that Sarah Snyder purchased pseudoephedrine at the
        same CVS in Weston, during the same time as one of the person [sic] arrested in the
        operation of the meth lab.

        Finally, CI #1 has provided information in pervious [sic] investigation that lead [sic]
        to drugs arrest.

        CI #2 has provided information in pervious [sic] investigation that had lead [sic] to
        the arrest and a conviction.

 (Docket No. 37-1.)

                                         IV.    ANALYSIS

        At the hearing, counsel for Defendant indicated that he was requesting a Franks hearing

 because of the inclusion of the following statement in the affidavit: “Additional information, NPLEX

 watch of Sarah Snyder show that both her and Jimmy Ash are frequent purchaser [sic] of

 pseudoephedrine. With both meeting there [sic] purchase limits under state law on a monthly bases

 [sic].” Counsel for Defendant characterized this statement as the “meat” of the affidavit and argued

 that the affiant, Corporal Smith, intentionally or recklessly included that statement without regard

 for the truth. Counsel argued that Defendant was not a frequent purchaser and that at no time had

 she ever met her purchase limit under state law. The Government argued that Defendant had not met


                                                  3
Case 1:14-cr-00056-IMK-MJA Document 43 Filed 10/14/14 Page 4 of 7 PageID #: 109




 her burden for a Franks hearing.

        In Franks, “the Supreme Court held that in certain narrowly defined circumstances a

 defendant can attack a facially sufficient affidavit.” United States v. Colkley, 899 F.2d 297, 300 (4th

 Cir. 1990). Specifically, the Franks Court created a rule “limited scope, 438 U.S. at 167, and

 recognized a strong “presumption of validity with respect to the affidavit supporting the search

 warrant,” id. at 171. As the Fourth Circuit has stated:

        The rule requires that a dual showing be made which incorporates both a subjective
        and an objective threshold component. In order even to obtain an evidentiary hearing
        on the affidavit’s integrity, a defendant must first make “a substantial preliminary
        showing that a false statement knowingly and intentionally, or with reckless disregard
        for the truth, was included by the affiant in the warrant affidavit.” . . . This showing
        “must be more than conclusory” and must be accompanied by a detailed offer of
        proof. . . . In addition, the false information must be essential to the probable cause
        determination: “if, when material that is the subject of the alleged falsity or reckless
        disregard is set to one side, there remains sufficient content in the warrant affidavit
        to support a finding of probable cause, no hearing is required.”

 Colkley, 899 F.2d at 300 (internal citations omitted). This rule also applies when affiants omit

 material facts “with the intent to make, or in reckless disregard of whether they thereby made, the

 affidavit misleading.” United States v. Reivich, 793 F.2d 957, 961 (8th Cir. 1986). Furthermore,

        [i]f a Franks hearing is appropriate and an affiant’s material perjury or recklessness
        is established by a preponderance of the evidence, the warrant “must be voided” and
        evidence or testimony gathered pursuant to it must be excluded. . . . A warrant that
        violates Franks is not subject to the good-faith exception to the exclusionary rule
        announced in United States v. Leon, 468 U.S. 897, 923, 104 S. Ct. 3405, 3420, 82
        L. Ed. 2d 677 (1984).

 Colkley, 899 F.2d at 300 (internal citation omitted).

        To support her argument that Corporal Smith made the statement quoted above intentionally

 or recklessly with disregard for the truth, Defendant offered printouts from the National Precursor

 Log (“NPLEX”) for both her and co-defendant James Ash’s pseudoephedrine purchases during the


                                                   4
Case 1:14-cr-00056-IMK-MJA Document 43 Filed 10/14/14 Page 5 of 7 PageID #: 110




 relevant time. Defendant’s NPLEX report indicates that she purchased pseudoephedrine on

 December 3 and 26, 2012, February 11 and 17, 2013, March 26, 2013, and April 1, 2013. (Docket

 No. 37-2.) Co-Defendant Ash’s NPLEX report indicates that between July 23, 2011, and April 22,

 2013, Ash purchased pseudoephedrine twenty-seven (7) times and had eight (8) attempted purchases

 that were blocked. (Docket No. 37-3.) West Virginia state law provides that an individual could

 purchase up to 7.2 grams of pseudoephedrine every thirty (30) days. W. Va. Code § 60A-10-4(a).

        Defendant has not met the first prong of Franks. She has not provided, nor has the

 undersigned located, any case defining the word “frequent” when used to characterize

 pseudoephedrine purchases. In her motion, Defendant states as follows:

        The printout shows that Defendant Snyder made a total of only six (6) purchases
        during that time period–two in December 2012, two in February 2013, one in March
        2013 and one in April 2013. In addition, the printout shows that none of her
        purchases or attempted purchases were blocked for being over the monthly limit. In
        contrast, Co-Defendant Ash made 27 purchases during the period 2011-2013, and
        had 8 attempted purchases blocked. . . . Thus, Defendant Snyder was clearly not a
        frequent purchaser of pseudoephedrine and certainly did not meet the state purchase
        limit on a monthly basis, as alleged in the affidavit.

 (Docket No. 37 at 3.) Defendant is attempting to compare two vastly different periods of time. The

 undersigned notes that from December 2012 until April 2013, co-defendant Ash made nine (9)

 purchases of pseudoephedrine and had seven (7) purchases blocked. Accordingly, co-defendant Ash

 made only three (3) successful purchases more than Defendant did during that five-month period.

 Given this, the undersigned cannot find that Corporal Smith “knowingly and intentionally, or with

 reckless disregard for the truth,” included the statement that Defendant was a “frequent” purchaser

 of pseudoephedrine in the warrant affidavit. Franks, 438 U.S. at 155-56.

        As noted above, Defendant also takes issue with the statement that she met her purchase limit

 under state law on a monthly basis. In its response, the Government concedes that this statement

                                                 5
Case 1:14-cr-00056-IMK-MJA Document 43 Filed 10/14/14 Page 6 of 7 PageID #: 111




 “appears not to be correct as to Defendant Snyder.” (Docket No. 40 at 4.) Nevertheless, Defendant

 has not presented any evidence of “deliberate prevarication” by Corporal Smith. United States v.

 Millar, 79 F.3d 338, 342 (2d Cir. 1996). Based on the Court’s analysis during the hearing it appears

 Defendant did meet her purchase limit on one of the three 30 day monthly periods. Furthermore,

 there is no evidence that Corporal Smith affirmatively intended to mislead the State magistrate who

 issued the search warrant. See United States v. Chavez, 902 F.2d 259, 265 (4th Cir. 1990).

 Accordingly, the undersigned cannot find that Corporal Smith “knowingly and intentionally, or with

 reckless disregard for the truth,” included the statement that Defendant met her purchase limit under

 state law on a monthly basis in the warrant affidavit. Franks, 438 U.S. at 155-56.

         In sum, Defendant has not made “a substantial preliminary showing that a false statement

 knowingly and intentionally, or with reckless disregard for the truth, was included by the affiant in

 the warrant affidavit.” Id. Given this, the undersigned does not find it necessary to consider

 whether, “when material that is the subject of the alleged falsity or reckless disregard is set to one

 side, there remains sufficient content in the warrant affidavit to support a finding of probable cause.”

 Id. at 171-72. Accordingly, Defendant has not met her burden for receiving a Franks hearing, and

 her motion to suppress should be denied.

                                    V.    RECOMMENDATION

         For the reasons stated herein, it is RECOMMENDED that Defendant’s “Motion to Suppress

 and Request for Franks Hearing” (Docket No. 37) be DENIED.

         Any party may, within fourteen days after being served with a copy of this Report and

 Recommendation, file with the Clerk of the Court written objections identifying the portions of the

 Report and Recommendation to which objection is made, and the basis for such objection. A copy


                                                    6
Case 1:14-cr-00056-IMK-MJA Document 43 Filed 10/14/14 Page 7 of 7 PageID #: 112




 of such objections should also be submitted to the Honorable Irene M. Keeley, United States District

 Judge. Failure to timely file objections to the Report and Recommendation set forth above will

 result in waiver of the right to appeal from a judgment of this Court based upon such report and

 recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984),

 cert. denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn,

 474 U.S. 140 (1985).

        The Clerk of the Court is directed to send a copy of this Report and Recommendation to

 counsel of record.

        Respectfully submitted this 13th day of October, 2014.

                                                      John S. Kaull
                                                      JOHN S. KAULL
                                                      UNITED STATES MAGISTRATE JUDGE




                                                  7
